                                                                  August 11, 2016




                                 JUDGMENT

                 The Fourteenth Court of Appeals
           SANDEEP PATEL AND AMAN JAFAR, M.D., Appellants

NO. 14-15-00851-CV                     V.

                 ZAKI MOIN, M.D., Appellee/Cross-Appellant

                                        V.

      ANIL ODHAV, M.D. AND SOHAIL NOOR, M.D., Cross-Appellees
                ________________________________

This cause, an appeal from the judgment signed September 25, 2015, in favor of
appellee Zaki Moin, M.D. and cross-appellees Anil Odhav, M.D. and Sohail Noor,
M.D., was heard on the transcript of the record. We have inspected the record and
find no error in the judgment. We order the judgment of the court below
AFFIRMED.

      We order appellants Sandeep Patel and Aman Jafar, M.D. and cross-
appellant Zaki Moin, M.D., jointly and severally, to pay all costs incurred in the
appeal.

      We further order this decision certified below for observance.
